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Nicole Owens
FEDERAL PUBLIC DEFENDER
Mark Ackley
First Assistant
FEDERAL DEFENDER SERVICES OF IDAHO
702 West Idaho Street, Suite 1000
Boise, Idaho 83702
Telephone: (208) 331-5500
Facsimile: (208) 331-5525

Attorneys for Defendant
JOSE SALVADOR ALCARAZ-CURIEL


                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF IDAHO
                  (HONORABLE AMANDA K. BRAILSFORD)


 UNITED STATES OF AMERICA, )                  1:24-cr-00071-AKB
                             )
       Plaintiff,            )                NOTICE OF INTENT TO
                             )                PLEAD GUILTY
   vs.                       )
                             )
 JOSE SALVADOR ALCARAZ-      )
 CURIEL A/K/A JOSE ALCARAZ )
 A/K/A JOSE S. ALCARAZ A/K/A )
 JOSE CURIEL,                )
                             )
       Defendant.            )
                             )

TO:    CLERK OF THE COURT, UNITED STATES DISTRICT COURT
       JOSHUA HURWIT, UNITED STATES ATTORNEY
       FRANCIS ZEBARI, ASSISTANT UNITED STATES ATTORNEY


       COMES NOW, the defendant, Jose Salvador Alcaraz-Curiel a/k/a Jose

Alcaraz a/k/a Jose S. Alcaraz a/k/a Jose Curiel, by and through his counsel of

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record, Mark Ackley, and the Federal Defender Services of Idaho, and

respectfully notifies the Court that it is his intention to plead guilty as charged

in the single count Indictment to the charge of Deported Alien Found in the

United States, in violation of 8 U.S.C.        § 1326 (a) & (b).     A signed plea

agreement with the government may follow the filing of this Notice.

       Accordingly, Mr. Alcaraz-Curiel respectfully requests that the Court

vacate his current trial date of September 9, 2024, and set a date for his change

of plea at the Court’s earliest convenience.

Dated: August 29, 2024                 Respectfully submitted,
                                       NICOLE OWENS
                                       FEDERAL PUBLIC DEFENDER
                                       By:


                                       /s/ Mark Ackley
                                       Mark Ackley
                                       First Assistant
                                       Federal Defender Services of Idaho
                                       Attorneys for Defendant
                                       JOSE SALVADOR ALCARAZ-CURIEL
                                       A/K/A JOSE ALCARAZ A/K/A JOSE S.
                                       ALCARAZ A/K/A JOSE CURIEL




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                           CERTIFICATE OF SERVICE

       I CERTIFY that I am an employee of the Federal Defender Services of

Idaho, and that a copy of the foregoing document, NOTICE OF INTENT TO

PLEAD GUILTY, was served on all parties named below on this 29th day of

August 2024.


Francis Zebari, Assistant U.S. Attorney                  Hand Delivery
Office of the United States Attorney                     United States Mail
1290 West Myrtle Street, Suite 500                   X   CM/ECF Filing
Boise, ID 83702                                          Email Transmission
Frank.Zebari@usdoj.gov




Dated: August 29, 2024                 /s/ Sybil Davis
                                       Sybil Davis




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